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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ALFONSO ESCALANTE ROJAS and
FLORENTINO BAUTISTA,
on behalf of themselves, FLSA Collective Plaintiffs,
and the Class,
Plaintiffs, Case No.: 1: 22-cv-02083-RA

OFFER OF JUDGMENT

PIZZA PETE’S LLC

d/b/a PIZZA PETE’S,
PFEM CO LLC

d/b/a BRAVO PIZZA,
12 APOSTLES LLC

d/b/a BRAVO PIZZA,
MFEA ENTERPRISES INC

d/b/a BRAVO PIZZA,
BEEK 1 LLC

d/b/a BRAVO PIZZA,
HASHEM MELECH INC

d/b/a BRAVO PIZZA,

LFL ENTERPRISES INC

d/b/a BRAVO PIZZA,
ASFJ ENTERPRISES INC

d/b/a BRAVO KOSHER PIZZA,
18 PIZZA LLC

d/b/a BRAVO KOSHER PIZZA,
JASK ENTERPRISES INC.

d/b/a FRANKTE BOY’S PIZZA,
FRANK LIBRETTA, MICHAEL LIBRETTA,
TANIA FELLUS, and KENNETH FELLUS,

Defendants.

 

Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants PIZZA PETE’S
LLC d/b/a PIZZA PETE’S, PFKM CO LLC d/b/a BRAVO PIZZA, 12 APOSTLES LLC d/b/a
BRAVO PIZZA, MF KA ENTERPRISES INC d/b/a BRAVO PIZZA, BEK. 1 LLC d/b/a BRAVO

PIZZA, HASHEM MELECH INC d/b/a BRAVO PIZZA, LFL ENTERPRISES INC d/b/a

 
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BRAVO PIZZA, ASF] ENTERPRISES INC d/b/a BRAVO KOSHER PIZZA, 18 PIZZA LLC
d/b/a BRAVO KOSHER PIZZA, JASK ENTERPRISES INC. d/b/a FRANKIE BOY’S PIZZA,
FRANK LIBRETTA, MICHAEL LIBRETTA, TANIA FELLUS, and KENNETH FELLOS
(collectively, “Defendants”) hereby offer to allow judgment to be taken against them, jointly and
severally, and in favor of Plaintiff ALFONSO ESCALANTE ROJAS (“Plaintiff Rojas”) and
Plaintiff FLORENTINO BAUTISTA (“Plaintiff Bautista”), collectively (“Plaintiffs”), in the sum
of Forty-Two Thousand Dollars and No Cents ($42,000.00), inclusive of all of Plaintiffs’ claims
for relief and damages, attorneys’ fees, costs and expenses.

This Offer of Judgment is made for the purposes specified in Federal Rule of Civil
Procedure 68, and neither this Offer of Judgment nor any judgment that may result from this Offer
of Judgment shall be construed as either an admission of liability on the part of Defendants, or any
of them, or that Plaintiffs have suffered any damages.

This Offer of Judgment is made pursuant to the provisions of Rule 68 of the Federal Rules
of Civil Procedure, and shall be deemed withdrawn unless Plaintiff Rojas and Plaintiff Bautista
serve written notice of their acceptance within fourteen (14) days of the date on which this Offer
of Judgment was served. Any evidence of this Offer of Judgment shall be inadmissible except as

provided in Rule 68 of the Federal Rules of Civil Procedure.

Dated: Kew ¥ 044C_, New York
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MANGO & IACOVIELLO, LLP

Anthony G, Mango, Esq.

 
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Attorney for Defendants

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